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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Case No. ____________________

  DENNIS JONES and JAMES WELCH,
  Individually and on behalf of all others
  similarly situated,

                 Plaintiffs,

  v.

  INTRADO LIFE & SAFETY, INC., a
  Delaware corporation,

                 Defendant.


                               DEFENDANT’S NOTICE OF REMOVAL


         TO THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO,

  AND TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, and

  D.C.COLO.LCivR 81.1, Defendant Intrado Life & Safety, Inc. (“Defendant”), by and through its

  undersigned counsel, hereby removes the above-entitled action styled Dennis Jones and James

  Welch v. Intrado Life & Safety, Inc., Case No. 20CV30376, from the District Court for Arapahoe

  County, Colorado, to the United States District Court for the District of Colorado. Copies of all

  pleadings are filed with this Notice under 28 U.S.C. § 1446(a). As grounds for removal, Defendant

  states as follows:

         1.      On February 14, 2020, Plaintiffs filed their Individual, Collective and Class Action

  Complaint (“Complaint”) against Defendant in the District Court for Arapahoe County, Colorado,


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  styled Dennis Jones and James Welch v. Intrado Life & Safety, Inc., Case No. 20CV30376. See

  Exhibit A, Plaintiffs’ Complaint.

         2.      Plaintiffs’ first claim for relief alleges a violation of the federal Fair Labor

  Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”). More specifically, Plaintiffs allege Defendant

  failed to pay Plaintiffs and other current and former employees of Defendant the correct amount

  of overtime compensation as mandated by the FLSA.

         3.      Plaintiffs’ FLSA claim, by its very nature, asserts a question of federal law.

         4.      Plaintiffs’ second and third claims for relief allege violations of Colorado statutory

  laws related to wage and hour law. Plaintiffs’ fourth claim for relief is for common law promissory

  estoppel.

         5.      Plaintiffs served Defendant’s registered agent with the Complaint on February 25,

  2020. See Exhibit D, Affidavit of Service.

         6.      Because this Notice of Removal is filed within thirty (30) days of Defendant having

  been served with the Complaint, it is timely filed under 28 U.S.C. § 1446(b)(1). See e.g., Murphy

  Brothers v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 356 (1999); Cellport Sys., Inc. v. Peiker

  Acoustic GMBH & Co. KG, 335 F. Supp. 2d 1131, 1134 (D. Colo. 2004).

         7.      This Court has original jurisdiction under 28 U.S.C. § 1331 because at least one of

  Plaintiffs’ claims arises under the Constitution and laws of the United States.

         8.      This Court also has supplemental jurisdiction under 28 U.S.C. § 1367 because

  Plaintiffs’ second, third, and fourth claims are related to the FLSA claim over which this Court has

  original jurisdiction, such that they form part of the same case or controversy. See 28 U.S.C. §

  1367(a); see also Donaldson v. Am. Banco Corp., Inc., 945 F. Supp. 1456, 1469 (D. Colo. 1996).




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                                FEDERAL QUESTION JURISDICTION

         9.       This Court has original jurisdiction under 28 U.S.C. § 1331 because Plaintiffs

  present a federal question.

         10.      Plaintiffs’ Complaint alleges Defendant “violated the FLSA by failing to pay the

  Plaintiffs and the Class Members one and one-half times their regular rates of pay for all of the

  hours they worked over 40 per week.” Ex. A, ¶ 53. 1

         11.      Plaintiffs’ Complaint also alleges “[a]t all times relevant to this Complaint, the

  Plaintiffs and the Class Members were ‘employees’ under the FLSA.” Ex. A, ¶ 51.

         12.      The FLSA is a federal labor law, codified in the United States Code. See 29 U.S.C.

  § 201 et seq.

         13.      Therefore, this is a civil action arising under the Constitution and laws of the United

  States. See U.S.C. § 1331; see also Wis. Dep’t of Coor. v. Schacht, 524 U.S. 381, 386 (1998)

  (holding that the presence of even one claim “arising under” federal law is sufficient for removal);

  BellSouth Telecommunications, Inc. v. MCImetro Access Transmission Servs., Inc., 317 F.3d 1270,

  1278 (11th Cir. 2003) (“For purposes of 28 U.S.C. § 1331 jurisdiction, all that is required is that

  there be an arguable claim arising under federal law.”); Thomas v. Bank of Am. Corp., 12-CV-

  00797-PAB-KMT, 2012 WL 1431224, at *2 (D. Colo. Apr. 25, 2012).

                                 PROCEDURAL REQUIREMENTS

         14.      The action is pending in the District Court for Arapahoe County, Colorado. See Ex.

  A. Accordingly, under 28 U.S.C. §§ 85 and 1441(a), the United States District Court for the District



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    While Defendant strongly denies these allegations, it assumes their truth solely for purposes of
  this Notice of Removal and any subsequent motion brought pursuant to Federal Rules of Civil
  Procedure 12(b).


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  of Colorado is the proper forum for removal.

          15.     Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the process, pleadings,

  and orders served and filed in the state court are attached as Exhibit B (Delay Reduction Order),

  Exhibit C (Complaint, Summons, Civil Cover Sheet, and all attachments), Exhibit D (Affidavit

  of Service), Exhibit E (Defendant’s Motion for Extension of Time for Responsive Pleading),

  Exhibit F (Order Granting Defendant’s Motion for Extension), and Exhibit G (the current docket

  sheet). See D.C.COLO.LCivR 8.1(b).

          16.     Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly provide written notice

  to Plaintiff of the removal of this action and will promptly file a copy of this Notice of Removal

  in the state court. Under D.C.COLO.LCivR 81.1(c), Defendant states that it is not currently aware

  of any hearings set in the state court as of the date of this filing.

          WHEREFORE, Intrado Life & Safety, Inc. removes this action from the District Court for

  Arapahoe County, Colorado, to the United States District Court for the District of Colorado.

          Respectfully submitted this 26th day of March, 2020.


                                                           s/ Joshua B. Kirkpatrick_____
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                                    CERTIFICATE OF SERVICE


             I hereby certify that on this 26th day of March, 2020, a true and correct copy of

   DEFENDANT’S NOTICE OF REMOVAL was filed and served via the CM/ECF system,

   which will send notification of such filing to all counsel of record.


                                                        s/ Arlene Aguilar
                                                        Arlene Aguilar, Legal Secretary




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